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IN THE UNITED sTATEs DISTRICT CoURT 28%§ UCT 22 w 3
FoR THE NoRTHERN DISTRICT oF TEXAs

DALLAS DIVISION mm
a,'t.r“UI'Y C»L ERK

UNITED STATES OFAMERICA 3- 1 8 C R _ 5 3 6 o g

V- NO.
LARRY DUNCAN (Related to Case Nos. 3:17-CR-678-M, 3:18-
CR-l69-M, 3:18-CR-410-M, & 3:18-CR-
409-M)
INFORMATION

The United States Attorney Charges:

Introduction
l. At all times relevant to this Information, the defendant, Larry Duncan, was the
President of the Board of Trustees for Dallas County Schools (DCS). l
2. At all times relevant to this Information, Robert Carl Leonard, Jr. owned and
presided over Force Multiplier Solutions (FXS), a technology company that put cameras
on school buses.
3. From in or around 2011 to in or around 2017, FXS secured over $70 million in
contracts, agreements, orders, and other beneficial treatment from DCS.
4. The DCS Board facilitated some of the transactions between DCS and FXS, by,
among other things, approving budgets and budget amendments which allowed DCS’s
Superintendent to purchase additional equipment from FXS and ratifying a $25 million

asset purchase agreement/licensing agreement between the entities.

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5. Between 2012 and 2016, Leonard made campaign contributions to Duncan of
approximately $245,000, which represented the vast majority of the political
contributions that Duncan received during that time period.
6. Some of the contributions to Duncan came through employees and associates of
Leonard, after which Leonard reimbursed the payees.
7. Of the $245,000 that Duncan received directly or indirectly from Leonard,
Duncan spent the vast majority of it_speciflcally, $184,726.03_on items unrelated to
his reelection bids to the DCS Board, including cash withdraws, transfers to himself and
his wife, car related payments, and other uses which benefited Duncan personally.
8. The 3184,726.03 that Duncan received directly or indirectly from Leonard
between 2012 and 2016 constituted income under the United States tax laws.
9. Duncan knowingly and willfully failed to disclose the $184,726.03 in income he
received from Leonard on his tax returns.
10. Specifically, on his 2016 tax returns, Duncan failed to report the $1 12,179.84 that
he received from Leonard as campaign contributions but used for his personal benefit
11. Duncan flled a false and fraudulent tax return for tax year 2016 by omitting the
$112,179.84 in payments that he received directly or indirectly from Leonard during
20 1 6.

Count One

Tax Evasion
[Violation of 26 U.S.C. § 7201]

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12. All preceding paragraphs of this Information are realleged and incorporated by
reference as if set forth fully herein.

13. Starting in or about January 2012, and continuing through at least 2016, in the
Northem District of TeXas and elsewhere, the defendant, Larry Duncan , willfully
attempted to evade and defeat the payment of a substantial income taX due and owing by
him to the United States of America, for the tax year 2016, by substantially
underreporting his income and by committing at least the affirmative acts described in
paragraphs 6 through 8 and 10 through 12 of this Information.

ln violation of 26 U.S.C. § 7201.

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ERIN NEALY COX
UNITED STATES AT b Y

 

 

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